
Dismissed by unpublished PER CURIAM opinion.
Unpublished opinions are not binding precedent in this circuit.
PER CURIAM:
Jill Parrish appeals the district court’s orders dismissing her appeals from the bankruptcy court’s orders granting a creditor relief from the automatic stay in her bankruptcy case and denying her request for a hardship discharge. The bankruptcy court subsequently dismissed the underlying bankruptcy case on an unrelated basis and Parrish has not appealed that dismissal. Because the bankruptcy case has been dismissed, this court cannot afford Parrish any effective relief. See In re Stadium Mgt. Corp., 895 F.2d 845, 847 (1st Cir. 1990) (“Absent a stay, the court must dismiss a pending appeal as moot because the court has no remedy that it' can fashion even if it would have determined the issues differently.”). Accordingly, we deny leave to proceed in forma pauperis and dismiss these appeals as moot. We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before this court and argument would not aid the decisional process.

DISMISSED.

